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                                                                                CLERKS OFFICE U.S. DIST. COURT
                                                                                   AT CHARLOTTESVILLE, VA
                                                                                         FILED
                                                                                      06/11/2020
                           IN THE UNITED STATES DISTRICT COURT                     JULIA C. DUDLEY, CLERK
                          FOR THE WESTERN DISTRICT OF VIRGINIA                     BY: /s/ J. JONES
                                    Charlottesville Division                          DEPUTY CLERK


  ELIZABETH SINES et al.,                       )       Civil Action No. 3:17-cv-00072
       Plaintiffs,                              )
                                                )
  v.                                            )       ORDER
                                                )
  JASON KESSLER et al.,                         )
       Defendants.                              )       By:    Joel C. Hoppe
                                                )              United States Magistrate Judge


         This matter is before the Court on Plaintiffs’ Motion to Compel and for Sanctions

  Against Defendant James Fields. ECF No. 671 (“Pls.’ Mot.”). For the reasons stated in the

  Memorandum Opinion entered this date, Plaintiffs’ motion to compel is hereby GRANTED in

  part with respect to Fields’s written discovery responses and DENIED in all other respects.

  Fields shall have twenty-one (21) days from the date of this Order to cure the defects discussed

  in Section III.A of the Memorandum Opinion. The parties shall bear their own expenses incurred

  in litigating the motion to compel. Fed. R. Civ. P. 37(a)(5)(C).

         Plaintiffs’ motion for sanctions under Rule 37(b)(2) is hereby DENIED in its entirety.

  Their specific request for an adverse-inference instruction related to the Christmas cards from

  Defendant Vanguard America is DENIED without prejudice.

         IT IS SO ORDERED.

         The Clerk shall send a copy of this Order to the parties.

                                                        ENTER: June 11, 2020



                                                        Joel C. Hoppe
                                                        U.S. Magistrate Judge




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